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                                           ORDERED.
         Dated: August 24, 2023




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

In re:

WOUAFF WOUAFF, LLC,                                         Case No. 8:22-bk-01595-CED
                                                            Chapter 11
          Debtor.
                                                   /


                              ORDER GRANTING DEBTOR’S
                           MOTION FOR ENTRY OF FINAL DECREE

          THIS CASE came on for consideration of the Debtor’s Motion for Entry of Final Decree

(Doc. No. 182) (the “Motion”). The Court finds that the Motion was appropriately served with

negative notice and no response was filed. Therefore, the Court deems the Motion as unopposed.

Accordingly, it is

          ORDERED that:

          1.     The Motion is granted.

          2.     The Court will enter a separate final decree.


Attorney Marshall G. Reissman is directed to serve a copy of this order on interested parties who do not receive
service by CM/ECF and to file a proof of service within 3 days of entry of the order.
